         Case 8:05-cr-00481-SDM-E_J Document 393 Filed 11/22/06 Page 1 of 5 PageID 1139
A 0 215B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STA TES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                              TAMPA DIVISION



UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE

                                                                  CASE NUMBER: 8:05-cr-481-T-23EAJ
                                                                  USM NUMBER: 48545-018
VS.


ALOURDE ST. LOUIS
  a/Wa Arloudes Saint Louis                                       Defendant's Attorney: Cimos Angelis. cja

THE DEFENDANT:

  X pleaded guilty to count ONE of the Indictment.


TITLE & SECTION                           NATURE OF OFFENSE                        OFFENSE ENDED                    COUNT

18 U.S.C. 5 371                           Conspiracy to Commit Mail Fraud          June 2 1, 2006                    ONE


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

-
X Count EIGHT is dismissed in accordance with the plea agreement.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                   Date of Imposition of Sentence: November 20, 2006




                                                                                        STEVEN D.IPERRYDAY
                                                                                   UNITED STATES DISTRICT JUDGE

                                                                                   DATE: November    22r?e
                                                                                                        2006
        Case 8:05-cr-00481-SDM-E_J Document 393 Filed 11/22/06 Page 2 of 5 PageID 1140
A 0 245B (Rev. 06/05) Sheet 4 - Probation (Judgment in a Criminal Case)

Defendant:            ALOURDE ST. LOUIS                                                                     Judgment - Page 2of 5
Case No. :            8:05-cr-481-T-23EAJ
                                                                          PROBATION

The defendant is hereby placed on probation for a term of THIRTY-SIX (36) MONTHS as to Count One of the Indictment.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court authorizes
random drug testing not to exceed 104 tests per year.

X
-          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer:

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
           days of each month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;

           the defendant shall notify the probation ofilcer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance, or any paraphernalia related to any controlled substances, except as prescribed by a physician:

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view by the probation officer:

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court: and
           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or personal. history, or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance wlth such notlficat~onrequirement.
        Case 8:05-cr-00481-SDM-E_J Document 393 Filed 11/22/06 Page 3 of 5 PageID 1141
A 0 245B (Rev 06/05) Sheet 4C - Probation (Judgment in a Criminal Case)

Defendant:           ALOURDE ST. LOUIS                                                               Judgment - Page 3 of 5
Case No. :           8:05-cr-481-T-23EAJ




                                              SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of probation:

           The defendant shall participate in the Home Detention program for a period of ONE HUNDRED EIGHTY (180) DAYS.
           During this time, defendant will remain at defendant's place of residence except for employment and other activities approved
           in advance by the defendant's Probation Officer. Defendant will be subject to the standard conditions of Home Detention
           adopted for use in the Middle District of Florida. The defendant will not be required to wear an electronic monitoring device,
           unless the Probation Officer finds it necessary for supervision. Further, if the electronic monitoring is found to be necessary,
           the defendant shall be required to contribute to the costs of services for such monitoring not to exceed an amount determined
           reasonable by the Probation Officer based on ability to pay (or availability of third party payment) and in conformance with
           the Probation Office's Sliding Scale for Electronic Monitoring Services.

           The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
           obligating herself for any major purchases without approval of the probation officer.

           The defendant shall provide the probation officer access to any requested financial information.

           If the defendant is deported, she shall not re-enter the United States without the express permission of the appropriate
           governmental authority, currently the United States Department of Homeland Security, or the United States Department of
           Justice.
        Case 8:05-cr-00481-SDM-E_J Document 393 Filed 11/22/06 Page 4 of 5 PageID 1142
A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Crimjnal Case)
Defendant:           ALOURDE ST. LOUIS                                                                  Judgment - Page 4 of 5
Case No. :           8:05-cr-48 1-T-23EAJ



                                                 CRIMINAL MONETARY PENALTIES


           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                Assessment                                 -
                                                                           Fine                         Total Restitution


           Totals:              $100.00                                    $ waived                     $2,492.00



-          The determination of restitution is deferred until                   .    An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.

-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U .S .C . 5
           3664(i), all non-federal victims must be paid before the United States.



Name of Pavee                                         Total Loss*                     Restitution Ordered               Priority or Percentape

American International Group (AIG)                    $                               $ 2,492.00
Attention: Mike Mark
11300 9th St. North
St. Petersburg, FL 33716


                                Totals:               L-                              $ 2,492.00


 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                    - restitution.
           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 1OgA, 110, I 1OA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
         Case 8:05-cr-00481-SDM-E_J Document 393 Filed 11/22/06 Page 5 of 5 PageID 1143
A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:            ALOURDE ST. LOUIS                                                    Judgment - Page 5 of
Case No. :            8:05-cr-481-T-23EAJ


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X        Lump sum payment of $ 100.00 (special assessment) due immediately, balance due
                                 -not later than                         , Or
                                 -in accordance - C, - D, - E or - F below; or
B.         -          Payment to begin immediately (may be combined with -C, -D. or -F below); or
C.         -
           X          Restitution payment in equal monthly installments of $25.00
D.         -         Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $               over a
                     period of
                                   (e. g ., months or years) to commence                     (e.g. 30 or 60 days) after release
                     from imprisonment to a term of supervision; or
E.         -         Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
F.         -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
                                                                                                   r
 enalties is due during imprisonment. All criminal monetary penalties, except those pa ments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of t le court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
X
-          Joint and Several
           Alourde St. Louis (lo), defendant, Case No. 8:05-cr-48 1-T-23EAJ - $2,492.00
           Ireno Luis Delgado (I), co-defendant, Case No. 8:05-cr-48 1-T-23EAJ

           The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
